            Case 1:21-mj-00167-TMD Document 3 Filed 02/08/21 Page 1 of 10


                                                                                 ____ FILED ___ ENTERED
                         IN THE UNITED STATES DISTRICT COURT                     ____ LOGGED _____ RECEIVED
                            FOR THE DISTRICT OF MARYLAND                         10:14 am, Feb 05 2021
                                                                                 AT BALTIMORE
                                                                                 CLERK, U.S. DISTRICT COURT
IN THE MATTER OF THE SEARCH OF:                                                  DISTRICT OF MARYLAND
                                                                                 BY ______________Deputy

ONE U.S. POSTAL SERVICE PARCELS                               1:21-mj-167 TMD
                                                    Case No. _______
LOCATED AT U.S. POSTAL
INSPECTION SERVICE OFFICE
COLUMBIA, MD



                     AFFIDAVIT IN SUPPORT OF APPLICATION
                  FOR A SEARCH WARRANT FOR US MAIL PARCELS

       Your Affiant, Brett A. Willyerd, United States Postal Inspector, Baltimore, MD, being

duly sworn, does hereby depose and state:

I.     Subject Parcel.

       1.       This is an Affidavit submitted in support of an Application for a Search Warrant for

one United States Mail parcel, hereinafter “SUBJECT PARCEL” for evidence of violations of 21

U.S.C. § 841(a)(1) (Possession with Intent to Distribute a Controlled Dangerous Substance), 21

U.S.C. § 843(b) (Transportation of Controlled Dangerous Substances via the U.S. Mail), and 21

U.S.C § 846 (Conspiracy to Distribute a Controlled Dangerous Substance). The SUBJECT

PARCEL is currently located at the U.S. Postal Inspection Service office, in Columbia, Maryland.

The SUBJECT PARCEL is specifically identified in Attachment A, which is incorporated herein

by reference, and is identified as follows:

 Subject     Express (E)or Priority (P)       From:                     To:
 Parcel      and Tracking ID number           Name and Address          Name and Address

 1           (P) 9405 5368 9784 6530          Trade Winds LLC           Jon Chandler
             0020 55                          15500 New Barn Rd         2129 Saint Paul St. Apt 2
                                              Miami Lakes, FL 33014     Baltimore, MD 21218-
                                                                        5896
             Case 1:21-mj-00167-TMD Document 3 Filed 02/08/21 Page 2 of 10

                                                                                      1:21-mj-167 TMD


II.     Affiant’s Training and Experience.

        2.       Your Affiant, Brett A Willyerd, has been a United States Postal Inspector since

April 2012. As part of my duties, I investigate the use of the United States Postal Service (“USPS”)

to illegally mail and receive controlled substances, the proceeds of drug trafficking, and

instrumentalities associated with drug trafficking, in violation of Title 21, United States Code,

Sections 841(a)(1) (distribution and possession with intent to distribute controlled substances) and

843(b) (unlawful use of a communication facility, including USPS, to facilitate the distribution of

controlled substances). I have participated in interdictions and controlled deliveries related to

narcotics investigations. I have completed United States Postal Inspection Service (USPIS) Basic

Inspector Training in Potomac, Maryland. I also have attended a one-week specialized training

course presented by the USPIS addressing narcotics investigations and current trends in narcotics

mailings. I have also received training on the identification of controlled substances, interdiction

of controlled substances and proceeds thereof. Prior to being a U.S. Postal Inspector I was a police

officer with the Manassas City Police Department in Virginia. As a result of my training and

experience, I am aware that Priority Mail Express, Priority Mail and First Class services are

regularly used by narcotic traffickers to ship controlled substances and bulk cash through the U.S.

Mail.

        3.       The facts contained in this affidavit are based on my personal knowledge as well as

that of the other agents involved in this investigation. All observations that were not made

personally by me were relayed to me by persons with knowledge. This affidavit contains that

information necessary to establish probable cause to support an application for a search warrant.

This affidavit is not intended to include each and every fact and matter observed by or made known




                                                   2
               Case 1:21-mj-00167-TMD Document 3 Filed 02/08/21 Page 3 of 10

                                                                                      1:21-mj-167 TMD


to agents of the government.

III.      Characteristics Common to Packages that Contain Narcotics.

          4.       Based upon your Affiant’s training and experience in the field of narcotic

interdiction through the mails, I know that there are suspicious characteristics common to many

packages that contain narcotics, controlled substances or the proceeds thereof (i.e., US currency).

These factors, more fully detailed below, are used to identify packages requiring further

investigation. In the case of this search warrant, several of these factors were identified, and the

package was alerted to by the drug detection canine. The most common factors or suspicious

characteristics routinely observed in the course of screening packages are as follows:

                 a. Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

progress of a parcel through the system), the USPS offers Priority Mail Express and Priority Mail.

Priority Mail Express is guaranteed (money back) to be delivered on a set date and time, usually

overnight. (That deadline is determined at the time of mailing.) The customer receives a receipt

with this guaranteed information, and the sender can opt for a signature requirement at the other

end or not. Customers can track the parcel online by its distinct Priority Mail Express tracking

number. The weight of the package and the distance traveled are the two main factors in setting

the price. Priority Mail Express costs more than Priority Mail. Priority Mail has a delivery service

standard of 1-3 business days, but delivery within that time period is not guaranteed. Priority Mail

is a less expensive alternative to Priority Mail Express, but still provides the ability to track a

parcel.

          Legitimate businesses using Priority Mail Express typically have a business or corporate

account visible on the mailing label, which covers the cost of the mailing. In contrast, the drug



                                                   3
         Case 1:21-mj-00167-TMD Document 3 Filed 02/08/21 Page 4 of 10

                                                                                         1:21-mj-167 TMD


distributor will pay for the cost of mailing the package at the counter by using cash or a credit card.

Business Priority Mail Express parcels typically weigh no more than 8 ounces, and business

Priority Mail parcels typically weigh no more than 2 pounds. Drug packages typically exceed these

weights. Address labels on business parcels are typically typed, whereas those on drug packages

are typically handwritten.

       In my experience, it is fairly easy to separate out smaller parcels, which constitute 70% to

80% of all Priority Mail Express and Priority Mail parcels, from other, heavier parcels. Typically,

drug traffickers use Priority Mail Express, and will opt out of the requirement of obtaining a

signature upon delivery.

               b.       Invalid Sender/Return Address: When drugs are shipped through the

mail, the senders generally do not want them back. To distance themselves from parcels containing

drugs, often the return addresses and the names of senders are fictitious or false. A fictitious or

false address is anything from an incorrect zip code, to a non-existent house number or street. The

name of the sender is also typically invalid in one of several ways. I have seen packages sent by

persons with names of celebrities, cartoon characters, or fictional names. More often a search of a

law enforcement database reflects that there is no association between the name of the sender and

the address provided.

               c.       Invalid Recipient/Address: It would be counter-productive to put the wrong

receiving address on a package, but often the named recipient is not actually associated with the

receiving address. This allows the person receiving the package to claim that they did not know

about its contents. Sometimes drug packages are addressed to vacant properties with the




                                                    4
         Case 1:21-mj-00167-TMD Document 3 Filed 02/08/21 Page 5 of 10

                                                                                         1:21-mj-167 TMD


expectation that the postal carrier will just leave it at the address. The intended recipient will then

retrieve it from that location and hope to remain anonymous.

               d.      Location of Sender: The fact that a package was sent from narcotics source

states such as Arizona, California, Texas, Washington, Colorado, Puerto Rico and Florida (among

others) can also indicate that the parcel contains controlled substances.

               e.      Smell: The odor of cocaine, marijuana, and methamphetamine are distinct,

and through experience postal inspectors are familiar with these odors. On occasion, a parcel will

emit an odor that is easily recognized without the assistance of a canine. Other smells that suggest

that a parcel may contain narcotics include the aroma of masking agents. Common masking agents

used in an attempt to thwart detection by law enforcement and canines typically include dryer

sheets, coffee, mustard, and any other substance that releases a strong smell.

               f.      Heavy Taping: Heavily taped parcels are another factor that will suggest a

drug parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and to

forestall easy checking on the interior contents by lifting up a flap. For this reason, I have also

observed excessive glue on the flaps of narcotics parcels as well.

               g.      Click-N-Ship: The USPS created Click-N-Ship as a service for frequent

mailers and businesses who prefer printing address labels and purchasing postage from their

residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings. They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than California

and Arizona as a means to deter detection, as these other states are not usually considered “source”




                                                    5
            Case 1:21-mj-00167-TMD Document 3 Filed 02/08/21 Page 6 of 10

                                                                                        1:21-mj-167 TMD


states for controlled substances. The postage labels are printed/typed, unlike the typical drug

related mailing label which is handwritten.

       4.       It is your Affiant’s experience that when these factors are observed, a drug detection

K-9 will likely “alert,” next to the parcel, indicating that the dog has detected the presence of

narcotics. As a result, these factors become a reliable way to profile the parcels being shipped

every day.

IV.    Probable Cause


       5.        On or around July of 2020, Customs and Border Protection (CBP), at Los Angeles

International Airport notified Homeland Security Investigations (HSI) about an intercepted UK

Royal parcel, LG621501278GB, which was addressed to Jon Chandler at 8700 38th Ave College

Park, MD 20740. After conducting a border search of UK Royal parcel LG621501278GB, CBP

found approximately 1,100 grams of suspected Alprazolam. As a result on the information

provided by HSI, a postal data base search confirmed that Jon Chandler received U.S. Mail at the

College Park, MD address. In December 2020, a search of postal databases discovered that Jon

Chandler moved to 2129 Paul Street Apt 2, Baltimore, MD 21218. As a result, the affiant watched

the new address for suspicious parcels being delivered. .

       6.        On January 14, 2021, your Affiant observed the SUBJECT PARCEL and noted

that it had the following suspicious characteristics:

 Subject          From         Weight:         Label:         Senders      Recipients Canine
 Parcel           Source                                      name         name       Alert?
 Express or       State:                                      associated   associated
 Priority                                                     with         with
                                                              address?     address?

  1. Priority      Yes – FL     4 lbs. 5 oz.   Typed              No           Yes       Yes - Riggs1


       1
           “Riggs” was certified in August of 2020 to alert on odors of marijuana (THC), cocaine,
                                                   6
              Case 1:21-mj-00167-TMD Document 3 Filed 02/08/21 Page 7 of 10

                                                                                           1:21-mj-167 TMD



       7.         The suspicious characteristics listed above were identified while the SUBJECT

PARCEL was in the mail stream, and on January 14, 2021, it was removed. At that point, law

enforcement used standard protocol for canine detection to determine whether there was probable

cause that the SUBJECT PARCEL contained narcotics. Specifically, after being removed from the

mail stream, the SUBJECT PARCEL was individually placed in a secure area next to several

other empty and unused boxes at the U.S. Postal Inspection Service office in Columbia, Maryland.

On January 15, 2021, a narcotic detection canine, “Riggs,” was brought forward to scan the group of

boxes, which included the individual SUBJECT PARCEL and the empty and unused boxes placed

around it. The handler observed the canine and reported that the dog was alerted by the SUBJECT

PARCEL.

 V. Conclusion

         8.       Your Affiant submits that, based on the above indicators reflected on the SUBJECT

 PARCEL, my training and experience, and the alert of a trained canine on the package, there is

 probable cause to believe it contains narcotics or controlled substances, or the proceeds thereof (i.e.,

 United States currency) and/or materials relating to the distribution of controlled substances

 through the United States Mail.




                                                Brett A. Willyerd
                                                United States Postal Inspector




 crack cocaine, ecstasy (MDMA), methamphetamine, and heroin. K-9 “Riggs” is trained on a
 monthly basis to ensure his accuracy. Montgomery County Police Department Detective Scott
 Carson is the handler for “Riggs”.

                                                     7
          Case 1:21-mj-00167-TMD Document 3 Filed 02/08/21 Page 8 of 10

                                                                                    1:21-mj-167 TMD

This Affidavit was submitted to me by email and attested to me as true and accurate by telephone
consistent with Fed.R.Crim.P. 4.1 and 41(d)(3).

This ________ day of January ________, 2021.



                                             The Honorable Thomas DiGirolamo
                                             United States Magistrate Judge




                                                  8
            Case 1:21-mj-00167-TMD Document 3 Filed 02/08/21 Page 9 of 10

                                                                                   1:21-mj-167 TMD


                                       ATTACHMENT A

  Subject    Express (E)or Priority (P)    From:                     To:
  Parcel     and Tracking ID number        Name and Address          Name and Address

  1          (P) 9405 5368 9784 6530       Trade Winds LLC           Jon Chandler
             0020 55                       15500 New Barn Rd         2129 Saint Paul St. Apt 2
                                           Miami Lakes, FL 33014     Baltimore, MD 21218-
                                                                     5896




The SUBJECT PARCEL is currently located at the U.S. Postal Inspection Service office, in Columbia,
Maryland.




                                                 9
          Case 1:21-mj-00167-TMD Document 3 Filed 02/08/21 Page 10 of 10

                                                                                      1:21-mj-167 TMD

                                         ATTACHMENT B

                           DESCRIPTION OF ITEMS TO BE SEIZED
       All records and information that constitute fruits, evidence, and instrumentalities of violations

of 21 U.S.C. §§ 841 and 846, and 21 U.S.C. § 843(b), including but not limited to:

                  a. Narcotics or other controlled substances;

                  b. Narcotics trafficking paraphernalia;

                  c. United States currency or other financial instruments;

                  d. Records related to narcotics suppliers, customers, and co-conspirators, and
                     related identifying information;
                  e. Types, amounts, and prices of drugs trafficked as well as dates, places, and
                     amounts of specific transactions;

                  f. Any information related to sources of drugs (including names, addresses, phone
                     numbers, or any other identifying information); and

                  g. Indicia of possession, custody, or control, including any information related to
                     the use of false or fraudulent identities




                                                  10
